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               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE TENTH CIRCUIT



DARLENE GRIFFITH,

        Plaintiff-Appellant,

v.                                                     No. 23-1135

EL PASO COUNTY, COLORADO,
et al.,

        Defendants-Appellees.



            UNOPPOSED MOTION FOR EXTENSION OF TIME FOR
              PLAINTIFF-APPELLANT TO FILE REPLY BRIEF

       Plaintiff-Appellant Darlene Griffith, by and through her attorney, Devi M.

Rao, respectfully requests a 14-day extension of time, up to and including November

27, 2023, to file her Reply Brief. In support of this motion, Appellant states as

follows:

       1.     This is an appeal from the U.S. District Court for the District of

Colorado, No. 1:21-cv-00387.

       2.     Appellant filed her opening brief on August 21, 2023.

       3.     After seeking and receiving a 30-day extension, Defendants-Appellees

filed their brief and a supplemental appendix on October 20, 2023.
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      4.      A 14-day extension is necessary due to the complexity of the issues

raised and because undersigned counsel has numerous competing responsibilities in

the relevant time period around the current and proposed deadlines. These include:

            A response brief in the U.S. Court of Appeals for the Second Circuit in
             Ballard v. Dutton, No. 23-6416, due November 2, 2023;

            An opening brief in the U.S. Supreme Court in McIntosh v. United
             States, No. 22-7386, due November 27, 2023; and

            Ongoing settlement negotiations in the Sixth Circuit’s mediation
             program in Fisher v. BOP No. 22-3754.

      5.      The undersigned is also traveling for the Thanksgiving holiday, and off

work November 22 through 24.

      6.      This is Appellant’s first motion for an extension of time in which to file

her reply brief.

      7.      Appellant does not bring this motion for purposes of delay and is

working in good faith and as diligently as possible to complete this matter.

      8.      Counsel for Defendants-Appellees has stated they are not opposed to

the requested extension.

WHEREFORE, Appellant respectfully requests a 14-day extension of time, up to

and including November 27, 2023, to file her reply brief.




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Dated: October 23, 2023             Respectfully submitted,


                                    /s/ Devi M. Rao
                                    Devi M. Rao
                                    Roderick & Solange
                                     MacArthur Justice Center
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                                    Washington, DC 20002
                                    (202) 869-3434
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                                    Attorney for Plaintiff-Appellant




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                        CERTIFICATE OF COMPLIANCE

      I certify that:

      This motion complies with the type-volume limitation of Fed. R. App. P.

27(d)(2)(A) because it contains 275 words, excluding the parts of the motion

exempted by Fed. R. App. P. 27(a)(2)(B).

      This motion complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because it has

been prepared in a proportionately spaced typeface using Microsoft Word 2019 and

Times New Roman 14-point font.

                                      /s/ Devi M. Rao
                                      Devi M. Rao
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                         CERTIFICATE OF SERVICE

      I hereby certify that on October 23, 2023, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the Third

Circuit by using the CM/ECF system. I certify that all participants in the case are

registered CM/ECF users and that service will be accomplished by the CM/ECF

system.


                                      /s/ Devi M. Rao
                                      Devi M. Rao
